
Mr. Justice Peat
delivered the opinion of the court.
This cause comes upon a writ of error from the circuit court of the county of Madison.
The second error assigned, “That there is no judgment by default rendered, or writ of inquiry awarded, which appears of record,” is the only one that claims the attention of the court.
A writ of inquiry can be awarded and executed only upon the rendition of a judgment by default, and as no such judgment appears in the records of this cause, the final judgment must be reversed, the proceedings upon the writ of inquiry stricken out and the cause remanded.
The memorandum by the clerk in the body of this record, stating that the default was omitted in the minutes of the court through mistake, was unwarranted, and cannot cure the defect.
